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IN THE UNITED sTATEs DISTRICT couRT H\.ED 3 `_ ._
FoR THE wEsTERN DISTRICT oF TENNEssEE ,_q _51
wEsTERN DIvIsIoN {}BHB.`¢' 18 533 ‘3-

 

 

MARVIN L. RAINER,
Plaintiff,

vs. NO. 04-2296-D/P

BRUCE WESTBROOKS, St al.,

Defendants.

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ORDER DENYING PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

 

Plaintiff Marvin L. Rainer, Tennessee Department of
Correction (“TDOC”) prisoner number 332114, an inmate at the West
Tennessee State Penitentiary (“WTSP”) in Henning, Tennessee, filed
a pro §_ Complaint pursuant to 42 U.S.C. § 1983 on April 26, 2004
against former WTSP warden Bruce Westbrooks, Henry Steward, Scott
Wilson, Charles Gaskins, Pnillip Glenn, Stan Paige, Officer Brown,
Vickie Kirby, Captain Lott, Michael Ottinger, Nadine Kiestler, Ross
Bates, and Bob Cabay. The Court issued an order on May 19, 2004
that, inter alia, directed the Clerk to issue process for, and the
marshal to effect service on, the defendants.1 On Marcn 30, 2005,

plaintiff filed a motion for partial summary judgment. Defendants

filed a response in opposition to that motion on April 4, 2005.

 

To date, defendants Westbrooks, Brown, and Lott have not been served.

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As defendants noted, this motion is untimely. The
deadline for filing dispositive motions was February 26, 2005. That
deadline was extended to March 18, 2005 on motion of the defendants
due to the fact that they had not yet received the transcript of
the plaintiff’s deposition. The plaintiff's motion was not served
until March 24, 2005 and it was not received by the clerk until
March 30, 2005. The motion is not accompanied by a motion seeking
leave to extend the motion deadline or by any explanation for the
late filing.

Accordingly, the Court DENIES the plaintiff's motion for
partial summary judgment. Nonetheless, the declaration submitted.by
the plaintiff will be considered, to the extent relevant, in
connection with the summary judgment motion filed by defendants
Ottinger, Kiestler, Bates, Cabay, Steward, Wilson, Gaskin, Glenn,
Paige, and Kirby.

IT IS SO ORDERED this d ZWH% day of May, 2005.

ij

s RNICE B. DONAfD f
U TED sTATEs DISTRICT JUDGE

  

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 2:04-CV-02296 Was distributed by faX, mail, or direct printing on
May 18, 2005 to the parties listed.

 

 

Marvin L. Rainer
W.T.S.P.

332114

P.O. Box 1150

Henning, TN 38041--115

Arthur CroWnover

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202--020

Honorable Bernice Donald
US DISTRICT COURT

